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 8                                  UNITED STATES DISTRICT COURT
 9                                  EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                     No. 2:13-cr-00206-MCE
12                     Plaintiff,
13            v.                                   FINAL PRETRIAL ORDER
14   ISRAEL WASHINGTON and                         TRIAL DATE: June 29, 2015
     ANTHONY SANCHEZ,                              TIME: 9:00 a.m.
15
                        Defendants.
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18            A Trial Confirmation Hearing was held on May 28, 2015. Jason Hitt and

19   Jill Thomas appeared as counsel for the United States. Dan Brace appeared as counsel

20   for Defendant Israel Washington, and Ronald Peters appeared as counsel for Defendant

21   Anthony Sanchez. After the hearing, the Court makes the following findings and orders.

22   I.       DATE AND LENGTH OF TRIAL

23            A trial is scheduled for June 29, 2015, at 9:00 a.m., in courtroom 7. The

24   estimated length of trial is ten (10) days. The Court will permit each side up to one (1)

25   hour for closing arguments unless otherwise specifically ordered by the Court. The

26   United States of America will be permitted to reserve time for rebuttal purposes but will

27   be required to monitor any time so reserved.

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 1   II.       MOTIONS IN LIMINE
 2             Any motions in limine by any party shall be filed by June 8, 2015. Any opposition
 3   to those motions in limine shall be filed by June 15, 2015. Any reply shall be filed by
 4   June 22, 2015.
 5   III.      AGREED STATEMENTS - JOINT STATEMENT OF CASE
 6             It is mandatory the parties file a short, jointly-prepared statement concerning the
 7   nature of this case that will be read to the jury at the commencement of trial. The joint
 8   statement of the case shall include in plain, concise language the claims of the United
 9   States of America and the claims of other parties, if any, and the corresponding

10   Defendant to the claims. The purpose of the joint statement of the case is to inform the
11   jury at the outset what the case is about. The statement must be filed by June 22, 2015.
12   IV.       WITNESSES
13             The parties are ordered to file their respective witness lists by June 22, 2015.
14             Each party may call a witness designated by another party. The parties must
15   expressly reserve the right to call additional witnesses at trial.
16   V.        EXHIBITS - SCHEDULES AND SUMMARIES
17             The parties are ordered to file their respective exhibit lists by June 22, 2015.
18   The parties must expressly reserve the right to offer additional exhibits at trial.
19             The parties shall use the standard exhibit stickers provided by the Court Clerk’s

20   Office. All multi-page exhibits shall be stapled or otherwise fastened together and each
21   page within the exhibit shall be numbered. All photographs MUST be marked
22   individually.
23             Each party may use an exhibit designated by another party. In the event that the
24   United States of America and Defendants offer the same exhibit during trial, that exhibit
25   shall be referred to by the designation the exhibit is first identified. The Court cautions
26   the parties to pay attention to this detail so that all concerned, including the jury, will not
27   be confused by one exhibit being identified by both the United States of America and the
28   Defendants.
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 1   VI.      PROPOSED JURY INSTRUCTIONS, VOIR DIRE, VERDICT FORM
 2            A.     Jury Instructions
 3            Counsel shall primarily use the Ninth Circuit Model Jury Instructions and any
 4   revisions. However, instructions or authority may be submitted to the Court for approval.
 5   Attached for counsels’ review are the Court’s standard opening and closing instructions
 6   which are taken from the Ninth Circuit’s Model Jury Instructions. If counsel has no
 7   objections to the Court’s use of these opening and closing instructions, counsel need not
 8   submit their own opening and closing instructions.
 9            The instructions must be filed by June 22, 2015, and shall be identified as the

10   "Jury Instructions Without Objection."
11            All instructions shall be, to the extent possible, concise, understandable, and free
12   of argument. See Local Rule 163(c). Parties shall also note any modifications of
13   instructions from statutory authority, case law, or from any form of pattern instructions;
14   the parties must also specifically identify the modification by underlining additions and
15   bracketing deletions.
16            B.     Verdict Form
17            The parties are ordered to file their respective proposed verdict form(s) by
18   June 22, 2015.
19            C.     Voir Dire

20            The parties are ordered to file their respective proposed voir dire by
21   June 22, 2015. The Court reserves the right to conduct all examination of prospective
22   jurors. Notwithstanding this reservation, the Court will permit each side up to ten (10)
23   minutes to conduct further voir dire, if desired. The voir dire questions shall be filed with
24   the Court by June 22, 2015.
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 1           D.     Submission of Documents to the Court
 2           At the time of filing their respective proposed jury instructions and verdict form(s),
 3   counsel shall also electronically mail to the Court, in digital format and compatible with
 4   Microsoft Word, the proposed jury instructions and verdict form(s) ONLY. No other
 5   documents should be electronically mailed to the Court.
 6   These documents MUST be sent to: mceorders@caed.uscourts.gov.
 7   VII.    CHOICE NOT TO FILE DOCUMENTS
 8           Should any party choose not to file a trial brief, witness list, exhibit list, proposed
 9   voir dire, proposed jury instructions, or proposed verdict forms, that party must notify the

10   Court in writing by June 19, 2015, that it will not be filing such documents.
11   VIII.   AUDIO/VISUAL EQUIPMENT
12           The parties are required to file electronically a joint request to the Courtroom
13   Deputy Clerk, Stephanie Deutsch, by June 15, 2015, if they wish to reserve and arrange
14   for orientation with all parties on the Court's mobile audio/visual equipment for
15   presentation of evidence. There will be one date and time for such orientation.
16   Dated: May 29, 2015
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